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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                Civil Action No. 3:22-cv-00211-SDD-RLB
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,
                 Plaintiffs,

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana.

                   Defendant.

EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, TRAMELLE
HOWARD,
              Plaintiffs,                   Civil Action No. 3:22-cv-00214-SDD-RLB

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana.

                 Defendant.




    GALMON PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION TO
    RECONSIDER DISMISSAL RULING AND TO SCHEDULE REMEDIAL
                         PROCEEDINGS
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       Defendants fail to provide compelling reasons against reconsidering this Court’s dismissal.

This case is no longer moot because the same injury that brought Galmon Plaintiffs to this Court—

the assignment of voters to congressional districts that violate Section 2—currently persists. In

fact, Galmon Plaintiffs learned yesterday from the Secretary of State that each Galmon Plaintiff is

currently assigned to a district created by H.B. 1, which precludes any finding of mootness even

under Defendants’ H.B. 1-centric analysis. Nor has any Defendant identified any compelling

reason why this Court should not commence remedial proceedings immediately. Defendants

identify no precedent—and Galmon Plaintiffs are aware of none—where a federal district court

abstained from remedying plaintiffs’ injury out of deference to a subsequent action in a sister

district court. In 2022, Galmon Plaintiffs voted in unlawful districts because the Supreme Court

stayed this Court’s injunction pending resolution of an earlier-filed redistricting case in Alabama.

It would be extremely inequitable for that injury to be repeated in 2024 due to this Court’s self-

imposed deference to a later-filed redistricting case here in Louisiana.

I.     This action is not moot.

       The brief and unsuccessful interlude of S.B. 8 does not permanently deprive Galmon

Plaintiffs of a remedy from this Court for the ongoing Section 2 injury that they alleged. Rather

than grapple with the fact that S.B. 8 is no longer law—and thus no longer moots Galmon

Plaintiffs’ claim—Defendants attempt to fault Galmon Plaintiffs for not challenging S.B. 8. See

Sec’y’s Mem. in Opp’n to Pls.’ Mot. for Reconsideration (“Sec’y Br.”) at 4, ECF No. 380 (arguing

action is moot because Plaintiffs declined “every opportunity to object to S.B. 8 and continue this

litigation”); State of La. Resp. to Pls.’ Mot. for Reconsideration (“State Br.”) at 2, ECF No. 381

(arguing action is moot because “Plaintiffs specifically elected in January not to amend their

complaints to seek new relief based on the enactment of SB8”). This is nonsensical. Of course



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Galmon Plaintiffs did not object to or otherwise challenge the legislative remedy that temporarily

provided the Section 2-compliant map that they have been demanding for two years. They did,

however, seek to “continue this litigation,” contra Sec’y Br. at 4, precisely to ensure that their

rights would not be extinguished by the events that have unfolded. See Galmon Pls.’ Notice at 2,

ECF No. 346 (“Galmon Plaintiffs respectfully request that the Court retain jurisdiction of this

action to adjudicate challenges to S.B. 8 and any related litigation regarding Louisiana’s

congressional map.”).

       Galmon Plaintiffs’ efforts throughout this litigation have been by-the-book and completely

transparent: they want this Court to “take actions necessary to order the adoption of a valid

congressional plan that includes a second congressional district in which Black voters have the

opportunity to elect their preferred candidates, as required by Section 2 of the Voting Rights Act.”

Compl. at 26, Galmon v. Ardoin, No. 3:22-cv-00214-BAJ-RLB (M.D. La. Mar. 30, 2022), ECF

No. 1. Galmon Plaintiffs suffered for lack of a Section 2-compliant map on the day they filed their

complaint, and because S.B. 8 has been enjoined, that same injury persists right now. When this

Court enjoined H.B. 1 in June 2022, no party suggested that Galmon Plaintiffs were obligated to

amend their complaint to allege new harms resulting from the absence of an operative map for the

2022 elections. Everyone understood that the initial injury persists until it is remedied. The parties

are in the same position today: H.B. 1 was repealed because Galmon Plaintiffs were likely to

succeed on their Section 2 claim. See Inj. & Reasons for J. at 46–47, Callais v. Landry, No. 3:24-

cv-00122-DCJ-CES-RRS, (W.D. La. Apr. 30, 2024), ECF No. 198 (collecting statements from

legislators that the special legislative session resulting in H.B. 1’s repeal was called in response to

decisions by the Middle District, Fifth Circuit, and this Court making clear that Section 2 required

an additional Black-opportunity district). And no remedy is currently in place.



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        Defendants do not—and cannot—argue that any Galmon Plaintiff is currently assigned to

vote in lawful districts that moot the injury alleged in their complaint. They can only speculate that

the injunction of S.B. 8 might be stayed pending appeal, or S.B. 8 might be adopted on an interim

basis by the Western District, or another Section 2-compliant map might be forthcoming from

either the Legislature or the Western District, maybe in time for the 2024 elections. But Galmon

Plaintiffs’ claim can be mooted only by an actual remedy—not by a hypothetical, conjectural, or

speculative turn of events, see Friends of the Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528

U.S. 167, 190, 193 (2000); cf. Ruling Granting Defs.’ Mot. to Dismiss at 8, ECF No. 371 (quoting

King v. Our Lady of the Lake Hosp., Inc., 455 F. Supp. 3d 249, 259–60 (M.D. La. 2020)). Having

already demonstrated a likelihood of success on the merits, Robinson v. Ardoin, 605 F. Supp. 3d

759, 766 (M.D. La. 2022) (“Robinson I”)—and having successfully defended that holding on

appeal, Robinson v. Ardoin, 37 F.4th 208, 218 (5th Cir. 2022)—Galmon Plaintiffs are entitled to

see this litigation through to the adoption of a congressional districting map that remedies their

Section 2 injury. 1

        Remarkably, the Secretary’s and the State’s summary of yesterday morning’s status

conference before the Western District omits key details. While the State reports that “the Callais

Court did not provide any indication that it intends to impose the map embodied in HB1 as the

remedial map for 2024,” State Br. at 2, the State’s counsel—Attorney General Liz Murrill—issued

a public statement yesterday asserting that if S.B. 8 is not used for the 2024 election (as the Western

District prohibited), “then HB1 from the 2022 session, which is what’s currently loaded in the




1
 Regardless of whether the S.B. 8 Injunction is eventually stayed pending appeal or whether the
Legislature elects to enact a new map, this Court should still retain jurisdiction over the remedial
process, whenever it takes place.
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system, should remain in place.” 2 Counsel for the Secretary of State made this same representation

to the Western District: that notwithstanding the Legislature’s enactment of S.B. 8, every voter in

the state is currently assigned to H.B. 1 districts, and the Secretary believes that these districts

should be used if an alternative remedy is not adopted by May 15.3 And the Callais Plaintiffs, in

turn, suggested that S.B. 8’s repeal of H.B. 1 is severable from the districting sections of S.B. 8

that the Western District enjoined. Thus, even under Defendants’ myopic view that Galmon

Plaintiffs’ injury is limited to H.B. 1, each Galmon Plaintiff is currently assigned to an H.B. 1

district that this Court found violates their Section 2 rights, and Defendants are actively litigating

toward the possibility of maintaining that map for the upcoming elections. While Defendants have

collected cases showing that a claim is moot where the injury is eliminated, no Galmon Plaintiff

presently enjoys the Section-2 compliant map to which they remain entitled.

II.    This Court should proceed directly to remedial proceedings.

       Defendants’ remaining arguments have nothing to do with mootness—and are thus

irrelevant to Galmon Plaintiffs’ motion to reconsider and to this Court’s jurisdiction. Instead,

Defendants write to note that, after Galmon Plaintiffs moved for reconsideration in this Court, the

Western District sua sponte reconsidered its own denial of Galmon Plaintiffs’ intervention (and its

previous denial of reconsideration of that order), and granted permission for Galmon Plaintiffs to

participate in any upcoming remedial phase in that case. See State Br. at 3; Sec’y Br. at 7. For

several reasons, nothing about that fact should impede proceedings here.




2
         @AGLizMurrill,        X.com         (May      6,              2024,         3:12        PM)
https://twitter.com/AGLizMurrill/status/1787561038520422640.
3
  Galmon Plaintiffs requested a transcript of the Western District status conference, but the court
reporter stated that she was directed by the court not to release the transcript.

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          First, Defendants do not identify any legal authority preventing concurrent proceedings.

Second, this Court remains much better positioned to enter a remedial map because it—and it

alone—has received extensive evidence of Louisiana’s Section 2 obligations, has issued a ruling

with findings specifying those Section 2 obligations, and has overseen multiple iterations of party

preparations up to the very “eve” of remedial proceedings. See ECF No. 267; see also ECF No.

206 (setting remedial hearing for June 29, 2022, and directing parties to produce proposed remedial

maps); ECF No. 250 (rescheduling remedial hearing for October 3–5, 2023); ECF No. 330

(rescheduling potential hearing for February 5, 2024). The Western District will have to start all

of these processes from scratch on an expedited timeline, only to duplicate efforts that have already

been completed here. 4 Thus, every equitable consideration weighs in favor of this Court

adjudicating this first-filed action to resolution in advance of the 2024 elections, precisely as the

Fifth Circuit and Supreme Court anticipated. See Robinson v. Ardoin, 86 F.4th 574, 584 (5th Cir.

2023) (expecting proceedings will be concluded in time to allow a remedial map “to be used for

the 2024 Louisiana congressional elections”); Ardoin v. Robinson, 143 S. Ct. 2654 2654 (2023)

(vacating stay to “allow the matter to proceed . . . in the ordinary course and in advance of the

2024 congressional elections in Louisiana”).

          Third, the Callais proceedings do not present an adequate forum for Galman Plaintiffs to

secure their interests. Far from “forum shopping,” State Br. at 3, Galmon Plaintiffs brought suit

two years ago in the forum that is home to three of them, Compl. at 3–5, Galmon v. Ardoin, No.

3:22-cv-00214-BAJ-RLB (M.D. La. Mar. 30, 2022), ECF No. 1; 5 the district that encompasses the


4
  The Secretary complains this evidence is “months-old,” Sec’y Br. at 7, but she cannot identify
any reason the relevant data could be out-of-date. There have been no intervening statewide
elections since January, and Louisiana’s parish lines and communities of interest are the same now
as they were then.
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    The fourth resides in the Eastern District of Louisiana.

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State Capitol, where their injury originated; and the region encompassing a significant portion of

the unlawful vote dilution that they alleged. Plaintiffs are entitled to their choice of forum,

especially where that forum is their home. See Koster v. (Am.) Lumbermens Mut. Cas. Co., 330

U.S. 518, 524 (1947). Additionally, Callais Plaintiffs have made clear that they intend to challenge

Galmon Plaintiffs’ right to appeal any adverse ruling in the Western District. Pls.’ Opp’n to Mot.

to Stay Pending Appeal at 9–10, Callais v. Landry, No. 3:24-cv-00122-DCJ-CES-RRS (W.D. La.

May 2, 2024), ECF No. 203 (arguing parties granted permissive intervention lack standing to

appeal). While Galmon Plaintiffs’ belated intervention in Callais enables them to move that court

to stay remedial proceedings, abstain while this Court continues its proper role, or adopt the

Galmon Plaintiffs’ preferred remedial process and map, 6 nothing in the three-judge statute or any

other source of law requires this Court to relinquish its Article III responsibilities wherever a later-

filed action undertakes duplicative efforts.

        Defendants’ remaining arguments are unserious. The State recites the Rule 59(e) standard

for motions for reconsideration without any analysis. See State Br. at 3–4. The Secretary accuses

Galmon Plaintiffs of underselling the State Defendants’ contributions at the Callais trial, Sec’y Br.

at 6, but—conspicuously—State Defendants did not object to Galmon Plaintiffs’ characterization,

and the Secretary never answers for her total failure to match her efforts in this action to the defense

of S.B. 8. The Secretary further dismisses the prospect of simultaneous remedial proceedings in

two courts as “fraught” and “unusual,” Sec’y Br. at 7–8, but that simply reflects the unusual

decision of Callais Plaintiffs to pursue congressional redistricting litigation in a different district

than where this two-year-old action remained pending. In any event, these are arguments the




6
 Galmon Plaintiffs intend to pursue all avenues for relief available to them in the Western District
proceedings as well.
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Secretary should raise in the Western District to request abstention pending proceedings here.

Finally, the Legislative Intervenors suggest that this Court cannot proceed to a remedial hearing

without a liability finding. See Legislative Intervenors’ Resp. in Opp’n to Pls.’ Mot. for

Reconsideration at 6–7, ECF No. 379. But, unless and until the S.B. 8 injunction is stayed, the

parties could easily stipulate that no lawful districting plan is currently in place—that dispositive,

undisputable fact requires further action from this Court.

       For all of these reasons, Galmon Plaintiffs respectfully request that this Court reconsider

its order granting Defendants’ motion to dismiss and promptly schedule remedial proceedings to

redress Galmon Plaintiffs’ ongoing injury in time for the 2024 elections.



Date: May 7, 2024                              Respectfully submitted,


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